Tape- S-3971

Lucille and Christine
(011)
C - Hello Jackie Schmackie!
L - I wanted to go grocery shopping ....I gotta see what time I get out of work
C - I don’t know maybe
L - I don’t know but...What you doing Saturday?
C - Um...why?
L - I wanted to know if you if you would wanna take a ride down to Suffern
C - (background) Well....what time?
L - I don’t know....
C - I have to work at 5 and ....
C - um... I’m supposed to go do something during the day but ...
L - Alright so Ill have to go
C - Why what’s up?
L - I wanted to go return the breast pump and stop at south street
L - Hold on I’m getting a beep
C - Its Anthony don’t answer it...Oh Anthony!......(on hold)
Hello
Hi
L - Anyway, that was Anthony ...
C - Yeah I know ... he’s in the same room as me
L - I was like “Im on the phone with Christine, I have to go now” (chuckling)
L - Anyway ... I don’t know maybe ill go this Wednesday or something then
C - How you gonna return a breast pump that you’ve been using for the last...
L - No! I have my own parts to it and I just rented it..
C - You’re not gonna breast feed anymore?
L - No..I wanna go back to work and ....I don’t have time and it’s a pain in the neck
C - Anyway....How’s the baby ... ?
L - He’s good...he’s lying here playing with his toy ...
C - Playing with a toy?
L - Well, trying to touch it...
C - Trying to touch it...and how’s Koral?
L - She doesn’t wanna talk... she’s watching Robin Hood - Men in Tights
C - Tell her she has no choice
L - (Talking to kid asking her to get on the phone) ... She doesn’t wanna talk
C - I don’t care, tell her I wanna tell her something....I gotta tell her a secret
L - She can’t talk to you now...she’s busy, Li’l pain in the butt she is
C - Who called before...earlier?
L - Me
L - Oh you wanted to know if I was coming through?
C - No... just wanted to say hi and to Koral because it was late when I called you,
L - but I’m definitely comin’ through on Saturday cause I can probably swim by then, Thank
God.
C - Oh...Don’t wear your medallion in the pool the chlorine will tarnish it..
L- Really?
C - It did to mine
L - Been in the pool with it a million times
(break)
C - You picked to take off the week I’m going to Puerto Rico.
(break)
C - Hold on .. Here’s mommy
(Now Carol on the phone with Lucille)
Ca - Hello
L - Mom?
Ca - Yes
Ca - What are you doing
L - Sitting on the floor here with the baby
Ca - Oh really
L - I feel bad for him ya know, he’s wide awake and he has nothing to do but suck on
his...(unintelligible)...and stare at his toy, ya know what I mean?
Ca - Its because he’s a little baby
L - Yeah I know but I feel like I should make him do something
Ca - What are you gonna do? Give Top hat and a cane ...
Ca - (singing “give my regards to Broadway”)
(break)
L - He always does that with his right hand
L - He can pull the toys all the way to his face and so he can lick it
Ca - He lays there?
L - Yeah, isn’t that funny
Ca - He knows what he wants already
L - See how smart he is ... he
L - That’s what he does...the entire time he’s awake...that’s all he does...he tries so hard to make
his hands do anything and he gets really mad and cries out ...(imitates baby crying) That’s exactly
what he does. JJ’s like, “why’s he always crying like a baby?”
(break)
L - She’s up at 2:48 ....up again at 3:50 and up ....well... and then he’s up at 6:30
Ca - Put her in dark and lay down with her
L - Up from midnight all the way til 6 o’clock....you think?
Ca - Definitely
Ca - The worst thing to do is ....like you know how you feel when you lay down and you gotta go
the bathroom and you turn around try to lay on your back.... its very uncomfortable
L - Yeah, that’s what it is his belly’s all full with poop but yet he’s hungry, ya know what I’m
saying?
(break)
Tape S-3974

Anthony Sr. and Lucille
(020)
A - Yeah?
L - Did you call me Daddy?
A - Yeah, what you doing
L - Just feeding the baby...falling asleep and I didn’t wanna...(unintelligible)...with him.
A - Listen we are gonna have cake for Lucille , duh - Lucille, for Christine today
A - I know you’re going to your friend’s but we’re gonna have it early ... about five oclock ....
have the cake and you can go on your way or whatever you wanna do ... alright?
L - Alright, that’s fine.... im coming over anyway
A - Oh ok good.
L - Ill come over , hang out and have cake....whatever..... JJ will probably come over after though
because ...doesn’t .Christine have to work today?
A - No she called in sick.
L - Oh she did? OK. What was I gonna say?
A - Then you can go to Rachel’s tonight
L - Yeah, I would like to... oh...JJ will prob just come over at 4:30, around cake time, because he
...uh....he’s building his stain glass in the house (break) his mother is buying him a .de-humidifier
so he can work down there
A - Oh yeah
L - That’s nice of her.... when he told her he needed one she was like, “well how much?”
A - I thought he was gonna do it in the attic
L - Um... no because he’s got more work he’s doing right now...putting the floors in and
everything
A - Yeah
L - Uh huh

Anthony Sr. and Debbie
(048)

D - Hello
A - May I speak to Jacqueline?
D - She’s not at home right now, she’s having her nails done
A - Oh really! (Chuckling) Listen...about five O’clock were having the cake for Christine
D - OK, want me to Pick up the cake?
A - Um...I have to go to Grand Union anyway...ya know, I’m gonna get, uh...I’m gonna get a ice
cream cake and have them put her name on it and then I’m gonna get some, uh...I’ll get Vito to
make a couple cold cuts ....and well pick on that
D - Want me to bring something ... when today or tomorrow?
A - No ...today
D - Oh today
A - Five o’clock today yeah..because Cat and Kevin can’t make it tomorrow and I originally had
told him Saturday and then I said Sunday and I forgot I had told him Saturday so now he’s like
we already made plans for Saturday...I mean for Sunday.
D - Isn’t Christine working tonight ....?
A - No she called in sick
D - Oh
A - She’s almost finished there anyway....she’s got three more days, so I said, “call in sick what
the hell’s the big deal.”
A - We’re having it early because Lucille is going to her friend Rachel’s afterwards... because
she’s leaving for Arizona and I said ok... but they are coming over in a little while
A - Wish it was sunny today ....
D - I know
A - I cant believe this ...this is August
(break)
D - Whole summer has been this way
A - Yeah its crazy...rain, rain, rain.
A - Talk to you later
D - Ok.... bye-bye

Anthony Sr. And Vito (“Little Italy” Deli)
(072)

A - Who’s this Vito?
V - Yeah
A - How are you Vito? ... Anthony
V - Hey Anthony..What’s happening?
A - Not much...what are you on speaker phone?
V - Hold on (getting off speaker)
A - That’s alright...
V - Hi
A - Hey what’s going on ...everything alright?
V - Uh...good
A - Listen ...I wanna order some stuff for tonight...having a little cake for my daughter... wanted
get a couple trays of cold cuts and...(unintelligible)...
V - Hold on second
A - Yes I will...(cut off)

Anthony Sr. and Vito
(136)

V - Little Italy...
A - Is this “Little Italy,” Big Vito?
V - Yes it is.
A - Vito, would it be too much of a problem to...Vito?
V - Yes...
A - Would it be much of a problem to get me half a tray of Meatballs
Just meatballs?
A - Yeah meatballs with sauce (for party).
V - Half a tray?
A - Yeah... small tray just half a tray... I don’t want the big whole thing.
V - You mean the one like in half of a Sterno.
A - Yeah half of a Sterno.
V - Ok.
A - Alright, could you do that for me and get that ready too?
V- Would you like that hot when you pick them up?
A- I ...I most definitely would.
V- Then its my pleasure to serve you.
A- Oh...Thank you Vito you’re such a gentleman (laugh).
A- Oh Vito... and two more loaves of bread.
V - Loaves of bread.
A - Yeah the big seeded loaf
V- Ok

Tape S-3975

Anthony Jr. And Lucille
(005)

L - Hello?
A- Lucille?
L- Yeah
A- Did you guys take the paint tray and roller when you came over here to take Daddy’s paints?
L- I don’t know ... JJ might have....you’ll have to ask him ... I don’t think so because we had our
own.
A- Well, is he there ?
L- No, he went to get us some sandwiches.
A- What?
L- He went to get us some sandwiches. .I’ll have him call you back.
A- Ok could you please because I bought a ..uh... when we did daddy’s room we bought a pan
and I bought myself a pan when I did my room and then nothing’s there. I can’t find a pan and I
need one. Could you ask him if he has it and if its his that I need to borrow one?
L- Ok, I’ll tell him to call you back.
A- Ok, thank you.

Anthony Jr. and Nanna (Carol’s mother)
-then Carol and Nanna
(012)

A - OK, how are you doing?
N - How do you like the quietness?
A- What quietness?
N - In the house
A - Its not that quiet
N - It’s not that quiet! (Laugh)
A - No. You didn’t make that much noise.
N - No (laughing) well a lot of people did though.
N - Yeah well...Where’s your mother?
A - She’s outside.
N - Yeah?
A - Hold on a second ....How’s the weather down there?
N - Beautiful
A - Oh yeah? Its been raining for three weeks straight... hold on let me find her
N - I know it, I know it...Is it raining today ?
A - Yep, it wont stop
N - Well that thing that’s going north/west...that eh..that hurricane.
A - Yeah?
N - Its not hitting Florida.
A - Yeah?
N - They said a couple showers in this afternoon but the sun is out like beautiful now.
A - Yeah well, alright.
N - You gotta come to Florida.
A - Yeah I know.
N - (cutting him off) When you become a lawyer....
A- Yeah, when I have some free time and some money...hold on a second.
(Anthony Jr. Screaming for Carol “ma! ma!”).
A - She’s on her way...
N - She’s coming to the phone now?...Where was she? Always hiding, huh?
A - She’s out back.
N - Oh, out in the rain?
A - It’s not raining right this second, but it rained already today, and uh, its gonna rain later.
N - Isn’t that terrible?
A - Yeah.
N - God...you can’t even...(unintelligible)...
(break)
(Carol and Nanna on the phone now)
N - ....In the closet.
C - Yeah maybe, ‘cause I had to clean.
N - You know that eye cream, that gel eye cream...You don’t have any of that? I guess you never
ordered that.
C - Yeah I have some. You want some?
N - That’s wonderful for your eyes.
C - I know, I have that.
N - Yeah.
C - Do you have any that you ordered?
N - Yeah.
C - Yeah that’s the gel...I like that.
N - Alright...That’s good for around your eyes when you come in from the sun and all
C - Yeah I use it.
N - So what are you doing?
C - Nothing really...Just came back from the pool. Its not raining its just cloudy.
N - That’s terrible.
C - You know...Im sure its not gonna be...(unintelligible)...
N - What’s the temperature?
C - About 65...70.
N - Oh it went down? That’s ‘cause of the jet-stream.
N - How’s the baby? How’s Lucille?
(break)
C - ...bathing suit, top and her shiny skirt, long gloves, heels and a crown.
N - That thing I gave her?
C - Yeah, she’s a princess.
N - I don’t know what she has against me. I didn’t do nothing to her.
C - She doesn’t talk to me either on the phone
N - No...I don’t mean talking on the phone...the way she ...(unintelligible)...towards me.
N - I didn’t do anything.
C - No ... there’s nothing up there, yesterday she wouldn’t talk to me.
(break)
N - And ...with the company...they’re the real ..uh ... they do work for the company
C - Yeah, yeah....they’re the brokers
N - Yeah....so she’s not a broker, she’s on the real estate now
C - Yeah I know but the company is one that holds ....
N - Yeah I got all my papers...and I signed the six months with them ... so I was out of luck...
N - so I already questioned that. I did.
(break)
N - Im gonna put them in boxes and when they have the drive I’ll give em all to them, but they
wont take high heeled shoes...I don’t know what to do with her
C - Why don’t you just give them to her if she wants them?
(Talking about someone who is sick)
N - (mumbling) he puts on a good act but he goes in to lay down.... a lot of times you don’t even
know.
C - (cuts her off) I know he does, I know.
N - He’s feeling sick ... he stopped feeling right.
C - I tell him all the time.
(cut off)

Tape S-3977
(079)
Joseph (brother) and Anthony Sr.

A - Hello
J - Hello
A - Hey Joe what’s up?
J - Nothing, how you doing?
A - Good
J - Carol coming to meet me for lunch do you know?
A - Yeah? Coming to meet you for lunch?
J - Yeah I called her and I said I was doing a little shopping at the mall and going to have lunch
with Jackie first and then....
A - Oh ok...im sure...she’s taking a shower so she must be.
J - Alright, can you tell her to go by my house on her way here?
A - And what?
J - And pick up the cable channel changer, ya know, same one you have.
A - Ok.
J - Or...if you want, just give her one of yours to bring because I gotta get a new one and if i bring
my old one its for free.
A - Yeah ok.
A - You can just go get it and bring it back and bring it back another time.... If you’re already up
there you don’t have to worry about it...That’s what I did... They’ll charge you the twenty bucks
or they’ll tell you it’ll be on your bill or ... b/c they charge you 20 dollars for it....or bring it back
another time.. They give you a receipt... you bring it back with the receipt and they don’t charge
you on your bill....So it doesn’t necessarily have to be today...you know what I’m saying? But
tell her to stop by there.
J - Yeah....um...why don’t you just give her one of your extra ones?
A - I already paid for my extra one.... I never brought it back.
(laughing together)
J - Then ill bring it back for ya, I’ll bring ‘em back.
A - Alright, well we could do that...
J - Either way, just tell her to call me and let me know.
A - Where are you?
J - Im in Middletown now and I’m about to go into PETCO.
A - Alright.
J - Ok, bye.

Tape S-4196

Sal and Anthony Sr.
(001)

A - (unintelligible)...Where you gonna go?
S - I don’t know.
A - I gotta give my sister a call...you home?
S - Yeah.
A - Let me give you a call right back... you wanted a haircut right?
S - Yeah.
A - Let me see what time, this way we’ll coordinate with her
S - Alright.
A - Because she wasn’t there yesterday ... forgot it was Tuesday.
S - Oh, she aint there Tuesday?
A - She’s not on Monday and Tuesday ... she’s off.
S - OH
A - Alright Ill call you right back

Anthony Sr. and Catherine
(008)
   - Can I help you
A - Kim?
   - Carol.
A - Hi Carol can I talk to my sister?
   - You wanna talk to your sister? (chuckling)
A - Yeah.
   - Hold on two seconds and let me get off the phone.
(holding)
C - Hello?
A - Yes.
C - How you feeling?
A - Ok....Listen Sal needs to come in for a haircut and I wanna come in for a manicure...what
time would be good
C - Um...I have you in for 1...
A - Uh huh...
C - Just bring him in with you and Ill....(cut off)

Sal and Anthony Sr.
(017)

S - Hello.
A - Sal?
S - Yeah
A - My sister has got us both in for a manicure and a haircut for you at 1 o’clock.
S - Good.
A - Ok ...You wanna come here about ...uhh.. 11:30.
S - Alright.
A - This way we’ll go get something to eat first.
S - You got it.
A - Alright I’ll see you 11:30.
S - Alright Anthony.
A - Bye.
S - Bye.
“Survivor” Show Conversations
Anthony Sr. and Lucille
(294)

L - Hello
A - Are you watching this?
L - Who the hell is Sue? And how dare she call anyone else two-face!
L - I have to go...bye.

Lucille and Anthony Jr.
(298)

L - If they give Rich the million dollars .. Ill shit in my pants.
A - Kelly deserves it.
L - She deserves it...she’s not a bad person, she played the game.
A - Who the hell is Sue?
L - She played the game
(Cut off)

Anthony Jr. and Lucille
(304)

L - Yes?
A - Greg voted for Rich.
L - He’s a piece of shit ...Rich hated two people who voted for him...
L - He hated Colleen, he hated...(unintelligible)...
(Cut off)

Anthony Jr. and Lucille
(307)

L - Im sick
A - Ill tell you what, Greg succumbed to his ego ... because Rich gave him that ...(cut off)

Joe and Anthony Jr.
(310)

J - Where is he?
A Sr. - In the other room.
J - Can I speak with him?
Sr - Yeah.
(Anthony Sr. calls for Anthony Jr.)
A - Hello?
J - Just wanted to tell you I was right...Rich won.
A - What?
J - Rich won.
A - Yeah it’s because Greg’s an asshole.
J - He didn’t do that number shit ... he gave into his ego... because when Rich made his final
speech he said who would be up here...it would be Greg because I have so much respect for him.

Anthony Jr. and Lucille
(317)

L - So Rich’s got the million dollars would she do it?
A - That’s what Bryant Gumble asked but she like stumbled and didn’t answer it.
L - Oh she didn’t?
A - Yeah she didn’t really answer it.
L - Stupid, fat...(unintelligible)...
A - Alright
A - Joe is happy ... Joe wanted Rich...
A - Joe was like ... “he deserves it,” and I was like, “alright I gotta go.”
L - Yeah because Joe thinks the same way he does ... you know one thing Sue did say which
Kelly...(unintelligible)...I mean, Sue was like...
(cut off)


Tape S-4298

Carol Leaves Message at Avon
(001)

Avon Machine - Hello , you’ve reached Carmen Flores at Avon. Im not available to take your
call right now, but if you leave your name number and a brief message I will get back to you as
soon as possible... thank you and have a wonderful day (beep)
Carol - Hi my name is Carol Colombo, my phone number is (914) 496-8201. And I’ve been
having a little problem... before you took over as manager I returned to Loretta Ladotti a
shipment of the 4 dolls, and a wallet that were incorrect. They were the representative dolls and
I wanted the bride dolls.... I never go them.

Carol calls Avon (Bernadette)
(009)

(Automated service)
B - Thank you for calling Avon, Im Bernadette
C - I think I pressed the wrong button... I was looking for accounts payable or recievable?
B - Ma’am, did you wanna do a credit card payment? Do a credit card payment?
C - No...I wanted to question my account.
(cut off)
Carol calls Connie (about Avon)
(024)

(recorded message)
Carol - Hi Connie, its Carol Colombo, how you doing?....I’d like you to give me back if you
can... my number is 496-8201...Pretty sure you have it and its concerning “Avon”... having a
little difficulty here and I don’t know what to do so I figure I could just hash it over with you....ok
... thanks a lot ... bye.

Rob (friend) and Anthony Jr.
(204)

A - Hello...Rob?
R - Ant?
A - Whats goin on?
R - Nothin, I’m at my friend Mike’s house.
A - Yeah?
R - Yeah.
A - How was last night?
R - What’s that?
A - How was last night?
R - Cant talk about it.
A - What you mean ...did you get laid?
R - No.
A - Did you at least make a move?
R -Yeah, it was OK.
A - Alright.
R - Ill give you a call later.
A - Bye
